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U.S. Department of J@am

‘. Efe. Area DECON Unit Leader Unified Area Command
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Homeland Securi - Unified Area Command 1087 Downtowner Bivd
Deepwater Horizon Mobile A! 36609

United States

Coast Guard (251) 445-3010

16450

Date: 1osepid _

VERIFICATION OF FINAL DECONTAMINATION

To: Master of vessel_MY Avgéet Ir Doc#, IMO#, or Reg#_Ihodig7

Statement of vessel condition: Vessel decontamination verified complete and vessel
poses no apparent pollution risk to the environment due to oil contamination or damage
as a result of oil spill response efforts or transit through effected waters. Vessel appears
in apparent good order and fit for intended routes and service.

Vessel Decon Examiner, U. S. Coast Guard (print/sign)
By Direction

Vessel Master nailer) &

Vessel Type:_SrteamP @ceer-
Location:_Bita<\, MS

Was the vessel assessment available: Yes

USCG Team Members: MST\ th@coura, BC i HEPiWwe;

COPY cCoka check Rin Tee
